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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO
                                   Judge Walker D. Miller


   Civil Action No. 05-cv-00377-WDM-BNB

   MOISES CARRANZA-REYES,

           Plaintiff,

   v.

   THE PARK COUNTY BOARD OF COUNTY COMMISSIONERS; et al.,

           Defendants.




                                    NOTICE OF DISMISSAL




           The court takes judicial notice that the parties have filed a Voluntary Stipulated

   Dismissal of Defendants Fred Wegener, Monte Gore, and Vickie Paulsen (doc. no.

   242) and a Joint Stipulated Motion for Dismissal With Prejudice (doc. no. 243) as to

   The Park County Board of County Commissioners, both in accordance with Fed. R. Civ.

   P. 41(a)(1). Accordingly, the complaint is dismissed with prejudice, each party to pay

   his or its own costs and attorneys’ fees.

           DATED at Denver, Colorado, on December 18, 2007.

                                                     BY THE COURT:



                                                     s/ Walker D. Miller
                                                     United States District Judge

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